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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 JONATHAN C. LAFONTIN

       Plaintiff,

 v.

 IMPERIAL CREDIT SYSTEMS, INC.,

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, JONATHAN C. LAFONTIN, is a natural person, and citizen

 of the State of Florida, residing in Palm Beach County, Florida.
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        4.    Defendant, IMPERIAL CREDIT SYSTEMS, INC., is a professional

 corporation and citizen of the State of Colorado with its principal place of business

 at Suite 302, 125 North Parkside Drive, Colorado Springs, Colorado 80909.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on his

 cellular telephone on or about the dates stated:

        December 9, 2009 at 7:22 PM
        Hi, I’m trying to get a message to Jon or Sheila LaFontin. This is Elizabeth
        with ICS. If you can give me a call back, 888-240-3954 and my extension is
        303.

        December 24, 2009 at 10:17 AM – No Discernable Message

        November 5, 2009 at 9:56 AM




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       Hi, I’m trying to get a message to Jonathan LaFontin. This is Liz Jenkins
       with ICS. I’ve been trying to get a hold of either you or Sheila since July. I’d
       appreciate a call back today at 888-240-3954 and my direct extension is 303.

       January 3, 2010 at 10:37 AM
       Yeah, Jonathan my name is Ben Powers. I need a return phone call at 888-
       240-3954. Reference number is 453508. My direct extension is 313. Thank
       you.

       February 8, 2010 at 2:23 PM
       Hi, this message is for Jonathan. This is Violet calling. If you can return my
       call at 888-240-3954 and my extension is 126. Thank you.

       11.    Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

       14.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

       15.    Plaintiff did not expressly consent to Defendant’s placement of

 telephone calls to Plaintiff’s cellular telephone by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

 placement of the calls.

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       16.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

       17.    Defendant willfully or knowingly violated the TCPA.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       18.    Plaintiff incorporates Paragraphs 1 through 17.

       19.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       20.    Plaintiff incorporates Paragraphs 1 through 17.

       21.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name, that it is a



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 debt collector, and the purpose of Defendant’s communication in the telephone

 messages in violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group,

 Inc., Case No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008,

 (S.D.Fla., September 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F.

 Supp. 591, 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp.

 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       22.     Plaintiff incorporates Paragraphs 1 through 17.

       23.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

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              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT IV
    TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
             CALLS TO A CELLULAR TELEPHONE

       24.    Plaintiff incorporates Paragraphs 1 through 17.

       25.    Defendant engaged in conduct the natural consequence of which is to

 harass, oppress, or abuse by using an automatic telephone dialing system or pre-

 recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT V
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       26.    Plaintiff incorporates Paragraphs 1 through 17.

       27.    Defendant asserted the right to collect a debt by leaving telephone

 messages for Plaintiff without disclosing that it is a debt collector and the purpose




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 of its communications and its name when Defendant knew it did not have a legal

 right to use such collection techniques in violation of Fla. Stat. §559.72(9).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit;

              c.     declaring that Defendant’s practices violate the FCCPA;

              d.     permanently injoining Defendant from engaging in the

              complained of practices; and

              e.     Such other or further relief as the Court deems proper.

                         COUNT VI
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       28.    Plaintiff incorporates Paragraphs 1 through 17.

       29.    By failing to disclose that it is a debt collector, its name and the

 purpose of its communication, by using an automatic telephone dialing system or

 pre-recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, and by telephoning Plaintiff with

 such frequency as can be reasonably be expected to harass, Defendant willfully

 engaged in conduct the natural consequence of which is to harass in violation of

 Fla. Stat. §559.72(7).



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        30.    The FCCPA provides for equitable relief including injunctive relief.

 Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

 2008).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit;

               c.    declaring that Defendant’s practices violate the FCCPA;

               d.    permanently injoining Defendant from engaging in the

               complained of practices; and

               e.    Such other or further relief as the Court deems proper.

                         COUNT VII
   VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        31.    Plaintiff incorporates Paragraphs 1 through 17.

        32.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial

 voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

 (b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

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              b.    a declaration that Defendant’s calls violate the TCPA;

              c.    a permanent injunction prohibiting Defendant from placing

              non-emergency calls to the cellular telephone of any person using an

              automatic telephone dialing system or pre-recorded or artificial voice

              without the prior express consent of the called party; and

              d.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

                                           DONALD A. YARBROUGH, ESQ.
                                           Attorney for Plaintiff
                                           Post Office Box 11842
                                           Ft. Lauderdale, FL 33339
                                           Telephone: 954-537-2000
                                           Facsimile: 954-566-2235
                                           donyarbrough@mindspring.com


                                     By: s/ Donald A. Yarbrough
                                        Donald A. Yarbrough, Esq.
                                        Florida Bar No. 0158658




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